
USCA1 Opinion

	






                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 95-1017

                                    BRIGGS, INC.,

                                Plaintiff, Appellant,

                                          v.

                             MARTLET IMPORTING CO., INC.,

                                 Defendant, Appellee.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                   [Hon. Eugene W. Beaulieu, U.S. Magistrate Judge]
                                             _____________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
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                            Coffin, Senior Circuit Judge,
                                    ____________________
                              and Stahl, Circuit Judge.
                                         _____________

                                 ____________________

            Joel A.  Dearborn with  whom Laurie Anne  Miller was on  brief for
            _________________            ___________________
        appellant.
            David R. Cross with whom James  Brennan and John W.  McCarthy were
            ______________           ______________     _________________
        on brief for appellee.


                                 ____________________

                                    June 14, 1995
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               COFFIN, Senior  Circuit Judge.  This is  a removed diversity
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          action in which  appellant, Briggs, Inc., a  Maine wholesale beer

          distributor, sued  Martlet Importing Co., a  subsidiary of Molson

          Breweries U.S.A., seeking injunctive relief and monetary damages.

          Briggs  claims  that  Martlet  wrongfully  gave  another  company

          exclusive rights to distribute  a new malt beverage, Molson  Ice,

          in  the   "Bangor  Market,"   where  Briggs  had   the  exclusive

          distribution  rights   for  all  other  Molson   products.    The

          magistrate judge  hearing the  case granted summary  judgment for

          Martlet.  We affirm.

               In 1975, Martlet designated Briggs as its distributor in the

          Bangor area for two of its products, Molson Ale and Molson  Beer,

          and later added  a third,  Molson Golden.   There was no  written

          instrument other  than the  designation of area  distributors and

          products which  Molson filed with  the Maine Bureau  of Alcoholic

          Beverages.  The contract between Briggs and Martlet was oral and,

          under existing Maine law, terminable-at-will.

               In  1979,  the  Certificate  of Approval  Holder  and  Maine

          Wholesale Licensee  Agreement Act (the Act), Me.  Rev. Stat. Ann.

          tit.  28-A,     1451-1465, was  enacted.   This legislation  gave

          protection to  local wholesale  distributors from termination  by

          their suppliers ("certificate of approval holders"); not only was

          reasonable notice  required, section  1455, but "good  cause" was

          made a prerequisite,  section 1454.   After passage  of the  Act,

          Martlet  designated Briggs  its  distributor for  four more  malt

          beverage  items, Molson  Light, Molson  Brador, Molson  Exel, and


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          Molson  Special   Dry.     Then   in  1993,   Martlet  gave   the

          distributorship  for  a  new  product,  Molson  Ice,  to  another

          distributor serving the same area.

               The magistrate judge conducted  a hearing in connection with

          a requested temporary restraining order, received depositions and

          affidavits, and  finally granted  summary  judgment for  Martlet.

          The court  based its decision on the contract clauses of the U.S.

          Constitution, Art. I,    10, cl. 1, and of  the Maine Declaration

          of  Rights,  Art.  I,     11,  holding  that  to  apply  the  Act

          retroactively to  the earlier oral agreement  between Martlet and

          Briggs would substantially impair Martlet's understanding that it

          could terminate at will.  It also held that no sufficient  public

          purpose would  be served.   Finally,  it held  that there was  no

          breach of good faith and  fair dealing, as alleged in an  amended

          complaint.

               We do not  reach the contract  clauses issue, preferring  to

          dispose  of  this case  on  the  non-constitutional ground  that,

          whether or not  the Act has retroactive  application, Martlet was

          not obligated under it  to assign the distributorship of  its new

          Molson Ice to Briggs.  This is so because that beverage was a new

          and  separate "brand"  within the  meaning of  the Act,  and thus

          properly  was   the  subject   of  an   independent  distribution

          agreement.    Briggs  argues  that  the  Act  bars  Martlet  from

          assigning  Molson  Ice   to  another  distributor  because   this






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          constitutes  a  dual  distributorship, in  violation  of  section

          1453.1   This  conclusion follows  from Briggs'  theory that  all

          Molson  products  comprise a  single "brand."    See App.  at 349
                                                           ___

          (Testimony  of  Allison  Briggs,  chairman of  the  board,  that:

          "Molson is  the brand  and Ice  is an  extension of  the Molson's

          brand.").  Because the Act does not permit a  manufacturer to use

          multiple distributors  for a single brand,  Briggs concludes that

          it must serve as distributor for all Molson products.

               In support  of its  conclusion, Briggs  argues that  the Act

          does not define "brand" or "label" and that these terms should be

          given their ordinary  definition.  As it  happens, however, there

          seems  to be no single,  all purpose definition.   Indeed, Briggs

          cites a Dictionary of  Marketing Terms by Peter D. Bennett to the
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          effect that "A brand may identify one item, a family of items, or

          all  items of [a] seller."  While such a multiplicity of possible

          meanings might in other  circumstances preclude summary judgment,

          we are  not  dealing here  with  a word  in  vacuo but  with  its
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               1The magistrate judge found it unnecessary to decide whether
          the original agreement between Briggs and Martlet encompassed all
          Molson products to be distributed in the Bangor market or whether
          separate agreements were made as each new product was introduced.
          Although Briggs'  chairman of the  board testified that  the 1975
          agreement  obligated   Martlet   to  designate   Briggs  as   its
          distributor for all  new Molson products, Briggs' brief on appeal
          does not contain  this contention.   We note,  in addition,  that
          Briggs' complaint does not contain a breach of contract count.
               These omissions  are  entirely  understandable.    The  only
          evidence offered  to support a comprehensive contract is the fact
          that  Martlet  originally  assigned some  distribution  rights to
          Briggs.  See App. at 346-47, 349-50.  The idea that a terminable-
                   ___
          at-will  contract   for  individual   products  could   imply  an
          enforceable obligation  to grant future  distributorships, to say
          the least, does not carry conviction.

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          specific   use  in  a  statute  that  has  for  many  years  been

          interpreted adversely to Briggs' view.

               The statutory language  strongly suggests  the more  limited

          "one  item" meaning  of brand.   Section  1451 (and  also section

          1452(1)(C))  speaks  of an  agreement  between  a certificate  of

          approval holder  and a wholesale licensee  authorizing the latter

          "to  distribute  one  or  more  of the  certificate  of  approval

          holder's  brands  of  malt  liquor."    (Emphasis  added.)    The
                    ______

          assumption appears to  be that a certificate  holder has multiple

          "brands,"  or "kinds,"  of wine  or beer.   Section  1453(1) then

          prohibits dual distributorships for individual brands  or labels,

          using the singular forms of those words.2  We think it  apparent,

          in light  of the  earlier use  of the  plural "brands," that  the

          prohibition  in  this section  concerns  discrete  products of  a

          manufacturer, and  does not bar multiple  distribution agreements

          for  differently  labelled  products of  a  single  manufacturer.

          Likewise, the obligation to maintain agreements in the absence of

          good  cause for changing or  terminating them must  apply only to

          the distribution rights of the individual "brands."

               If the  statutory language leaves any  doubt concerning this

          interpretation, it is dispelled by the testimony of Lynn Cayford,

          Director of Licensing for the Bureau of Liquor Enforcement of the

                              
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               2  The  provision  reads  as  follows:  "No  certificate  of
          approval  holder who  designates a  sales territory  for which  a
          wholesale licensee  is primarily  responsible may enter  into any
          agreement with  any other wholesale  licensee for the  purpose of
          establishing  an additional agreement  for its brand  or label in
          the same territory."

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          State of Maine for  the past thirteen  years.  He testified  that

          the  agency treated "every label  as a separate  brand," and that

          this definition of "how we handle brands and how we handle labels

          is the same way we've handled them in my twelve years or thirteen

          years working there."

               Briggs  urges us  to  give  no  deference  to  the  agency's

          interpretation  because of the lack  of a definition  in the Act,

          the absence  of case law,  and the  fact that Cayford  is not  an

          attorney.   This is an original, if  meritless, argument.  As the

          Maine Supreme Judicial Court has made clear, "We shall accept the

          agency's  construction,  especially  if,  as  here,  it  is  long

          established  . .  .  unless it  clearly violates  the legislative

          intent."  Bar Harbor  Banking and Trust Co. v.  Superintendent of
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          the Bureau of Consumer Protection, 471 A.2d 292, 296 (Me. 1984).
          _________________________________

               The conclusory  assertions of Briggs' officers  that "brand"

          and  "label"  refer  in this  context  to  all  products using  a

          supplier's name do not  create a genuine issue of  material fact.

          There  was no  violation  of  the Act,  or,  a fortiori,  of  any
                                                       _ ________

          obligation of  good faith and fair dealing,  in Martlet's refusal

          to give Briggs the distributorship of its new brand, Molson Ice.

               Affirmed.
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